Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 1 of 35   PageID 1073
                    SHELBY COUNTY MENS JAIL
                    COVID19 INSPECTION
                    JUNE 29, 2020



          Covid-19 Inspection of the Shelby County Men’s Jail at
          201 Poplar Avenue, Memphis TN 38103

          Final Report



          Submitted to:

          The Honorable Sheryl H. Lipman
          District Judge
          United States District Court
          Western District of Tennessee
          Western Division




          Produced by:
          Mike Brady
          Director
          Sabot Consulting



          June 29, 2020
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 2 of 35                                           PageID 1074
                               SHELBY COUNTY MENS JAIL
                               COVID19 INSPECTION
                               JUNE 29, 2020



                                           TABLE OF CONTENTS
  INTRODUCTION ................................................................................................. 1
  THE JAIL SETTING............................................................................................. 4
  INSPECTION OBSERVATIONS - JUNE 23, 24, 25, 2020...................................... 5
  COVID-19 SCREENING FOR EMPLOYEES ....................................................... 6
  INTAKE/BOOKING/RELEASE............................................................................ 8
  MEDICAL ........................................................................................................... 10
  MENTAL HEALTH ............................................................................................ 11
  MEDICAL ISOLATION LOWER LEVEL PODS A-K........................................ 13
  FLOORS 1-6........................................................................................................ 15
  POPULATION MANAGEMENT ........................................................................ 17
  STAFFING SHORTAGES................................................................................... 18
  FINDINGS AND RECOMMENDATIONS .......................................................... 19
  CONCLUSION .................................................................................................... 27
  EXHIBIT 1 – INSPECTION ORDER .................................................................. 30




                                                            ii
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 3 of 35                 PageID 1075
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



  INTRODUCTION

  My name is Michael K. Brady, and I am the Director of the Criminal Justice Division for
  Sabot Consulting. I am a nationally recognized expert in prison and jail operations, the
  Americans With Disabilities Act, and the prevention and mitigation of the spread of
  infectious diseases and public health in the correctional setting from an operational and
  non-clinical perspective.
  On June 18, 2020, in the matter of Busby V Bonner ( No. 2:20-cv-2359-SHL), pursuant
  to Federal Rule of Evidence 706, United States District Judge For The Western District
  of Tennessee, Western Division, The Honorable Sheryl H. Lippman, appointed me as the
  neutral expert witness in the field of jail and prison operations as it relates to the
  prevention and mitigation of the spread of infectious diseases and public health in the
  correctional setting.
  The Inspection Order states in pertinent part:
         “…The appointed expert shall provide information to the Court responsive
         to Plaintiffs’ Motion for Temporary Restraining Order (ECF No. 2) and
         render an expert opinion on the current health and safety of medically-
         vulnerable Plaintiff-detainees at the Shelby County Jail (“the jail”) in light of
         the Covd-19 pandemic, including but not limited to the Facility’s compliance
         with the pertinent CDC and Shelby County Public Health guidelines and
         other applicable standards. The expert’s findings shall include, if warranted,
         recommendations regarding corrective measures that, in his expert opinion,
         should be implemented at the jail, to protect the medically-vulnerable from
         the COVID-19 virus at the facility….” (See Inspection Order Filed On June
         18, 2020, attached as Exhibit 1)
  The medically-vulnerable detainees to which the inspection order applies are defined as
  follows:
         1. People 65 years and older
         2. People with chronic lung disease or moderate to severe asthma (including
            chronic obstructive pulmonary disease (COPD) (including emphysema, and
            chronic bronchitis),
         3. Idiopathic pulmonary fibrosis and cystic fibrosis;
         4. People who have serious heart conditions (including heart failure, coronary
            heart disease, congenital heart disease, cardiomyopathies, and pulmonary
            hypertension);
         5. People who are immunocompromised (including cancer treatment, smoking,
            bone marrow or organ transplantation, immune deficiencies, poorly controlled
            HIV or AIDS, and prolonged use of corticosteroids and other immune
            weakening medications);
         6. People with severe obesity (body mass index [BMI] of 40 or higher);
         7. People with Diabetes;
         8. People with chronic kidney disease undergoing dialysis;

                                                   1
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 4 of 35                     PageID 1076
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



         9. People with chronic liver disease, including cirrhosis; and
         10. People with hemoglobin disorders, including sickle cell disease and
             thalassemia.
         11. All persons currently or in the future held at the jail in pretrial custody during
             the COVID-19 pandemic who are at increased risk of Covid-19 complications
             or death because of disabilities as defined in the Americans With Disabilities
             Act (ADA) and Section 504 of the Rehabilitation Act.
  In order to have a better understanding of the contested facts of this case, I read the
  pleadings and declarations submitted by both Petitioner-Plaintiffs and Respondent-
  Defendants.
  In addition, I requested relevant documents from Petitioner-Plaintiffs’ Counsel,
  Respondent-Defense Counsel, and Wellpath’s Counsel in advance of my unannounced
  arrival at the Shelby County Pre-Detention Jail located at 201 Poplar Avenue, Memphis,
  Tennessee, 38103.
  In addition from 0830hrs until approximately 2300hrs for three consecutive days, I
  conducted multiple in depth interviews with key personnel for the Shelby County Jail,
  key personnel with the contract medical provider, WELLPATH , walked the decks on
  each floor of the jail, inspected each of the living units, dayrooms, common areas,
  showers, toilets, medical clinic, intake/booking/release, interviewed staff and inmates on
  the first (0600-1400hrs) and second watch (1400hrs-2200hrs), inspected the holding cells,
  the court tunnel, the upstairs court holding cells, transportation vehicles, and from the
  control center on the lower level observed inmates being escorted through the court
  tunnel, placed in the holding cells, escorted upstairs to and from the General Sessions
  Court and Criminal Courts, and back to through the tunnel toward their living units.
  I was very fortunate to have newly promoted Lieutenant Styles as my security escort and
  guide. She is intimately familiar with all aspects of the Shelby County Jail operations and
  was responsible for the seamless scheduling of staff and inmate interviews, escorting me
  through any and all parts of the jail, gathering not only the documents I requested in
  advance, but additional documents that I needed as a result of my interviews and
  observations throughout my three days of inspection. She was my security escort,
  scheduler, facilitator, problem solver, and reservoir of knowledge, from 0830 to 2300hrs
  every day of the three long days of my onsite inspection. We continue to communicate as
  needed this weekend for any additional documents I may need or questions I need
  answered as I pen this report. Without her assistance, it would have been impossible for
  me to have achieved the in depth understanding of all aspects of the Shelby County Jail
  Operations necessary to compete this inspection report. Thank you Lt. Styles.
  I also want to acknowledge the Chief Fields, Assistant Chief Hubbard, Assistant Chief
  Ward, Dr. Bruce Randolph, Dr. Judy Martin, Dr. Donna Randolph, Jeremy Sanders, Ms.
  Geeter, Mischelle Best, and all their respective staff for allowing me to repeatedly take
  time away from their busy schedules to answer my questions and provide me with the
  documents I needed to verify the policies, procedures and practices about which they


                                               2
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 5 of 35                     PageID 1077
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



  spoke were in writing. They are consummate professionals who care deeply about the
  inmates in the Shelby County Jail.
  At all times of the day or night, I had unrestricted access to key personnel and the jail
  facility. Shelby County Jail command staff and Wellpath leadership were transparent,
  responsive and open to new approaches in addressing the opportunities for improvement
  that I discovered during my court ordered inspection.
  It is important to remember that during the course of my inspection, it was necessary for
  me to explore potential solutions to each area of concern I identified during my
  inspection. Recommending corrective measures to the Court that are not practical or
  doable would render my recommendations useless, a prolific waste of time, energy, and
  money. It was not my intent to usurp the authority of the Court or the interest of the
  parties in exploring those options, but rather to find meaningful, efficient, cost effective,
  and practical solutions to preventing and mitigating the spread of this highly contagious
  and oftentimes deadly virus among the vulnerable population housed in the Shelby
  County Jail.




                                               3
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 6 of 35                   PageID 1078
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



  THE JAIL SETTING

  County Jail operations have many unique characteristics:
     §   Jails operate continuously, 24 hours per day, 365 days per year.
     §   Jails provide a wide spectrum of services, activities, and programs for inmates.
     §   Jails are high-risk settings where inmates are often dangerous to themselves and
         others.
     §   Jail populations have a significant percentage of inmates with chronic diseases
         serious medical conditions, serious mental illness, and disabilities
     §   Jail populations can fluctuate widely throughout the year, and even on a day-to
         day basis.
     §   Many jail inmates spend only a few hours in jail or a few days especially in light
         of the new bail statutes, pretrial release programs, and other court actions.
     §   Many other inmates remain in jail for months or years because of the serious
         nature of their charges or their inability to make even the lowest bail amount.
     §   Admission and release procedures require much staff effort, but the peak periods
         of admission are often difficult to anticipate (special events, parole/probation
         sweeps, gang sweeps, homeless camp sweeps, demonstrations, DUI checkpoints,
         etc.).
     §   Extensive Documentation is required for all activities and procedures at the jail.
     §   Perimeter security and internal movement must be controlled at all times.
     §   Supervision needs vary for different classifications of inmates.
     §   Jail staff, administrators, and funding officials can be held liable for
         substandard/constitutional deficient jail operations and conditions.
     §   Transportation to and from outside medical appointments, inpatient
         hospitalizations are difficult to anticipate and staff.
     §   Jails now are one of the largest and most challenging mental health treatment
         facilities in the country.
     §   The provision of quality medical care to an older, sicker, inmate population is
         incredibly expensive and challenging.
  In recent years, recruiting and maintaining adequate badge staff has been extremely
  difficult and current events have exacerbated the problem. Many jails are short staffed
  and have to employ robust mandatory overtime initiatives that are unsustainable.
  Couple these challenges with the current attempts to limit the spread of the highly
  contagious and deadly Covid-19 virus in the Shelby County Men’s Pre-Detention Facility
  (hereinafter “the jail”), and it becomes exponentially more difficult.




                                              4
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 7 of 35                 PageID 1079
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



  INSPECTION OBSERVATIONS - JUNE 23, 24, 25, 2020

  It goes without saying that these are extraordinarily difficult and dangerous times in
  which we find ourselves thrust today. Operating a large county jail such as the Shelby
  County Jail is challenging, complex, and labor intensive.
  Attempting to prevent/mitigate/eradicate the Covid19 virus within the secure perimeter of
  the jail, adds an additional daunting and extraordinarily labor intensive layer of
  multidisciplinary work that must be implemented with precision, armed with the
  flexibility to adapt to new discoveries, guidance and directives from the CDC and Public
  Health in real time, and be monitored with hypervigilance to ensure its effectiveness.
  As you can imagine, each county jail is unique and there is not a single Covid-19
  operational response model that is effective for all jails. The core principals of social
  distancing, testing, tracing, and isolation must be present, but how those four core
  principals are implemented are oftentimes restricted because of the physical plant,
  population size, and staffing. Shelby County is no different.
  On Tuesday morning, June 23, 2020 at approximately 0730hrs, I notified my security
  escort, Lt. Styles that I would be conducting my inspection of the Shelby County Jail and
  that I would be arriving at the Shelby County Detention Facility at 0830. The date and
  time of my inspection was unannounced until one hour prior to my arrival. Lt. Styles met
  me at a secure parking lot off Washington Street and we entered the jail through the
  employee entrance. I was wearing a surgical mask, and Lt. Styles was wearing a mask as
  well.




                                             5
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 8 of 35                     PageID 1080
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



  COVID-19 SCREENING FOR EMPLOYEES

  Immediately upon entering the jail outside the secure perimeter, there was an
  employee/contractor screening table. I was asked to fill out a “Coronavirus Screening”
  questionnaire which posed the following questions:
         1. In the past 14 days, have you been outside of the United States and/or, on a
            cruise or been in contact with anyone who has? Yes_ No_ If so, When___
            Where___
         2. In the past 14 days have you been in crowded areas, (for example Airports,
            Conferences, Concerts, etc.) YES__NO__ If so, When__ Where__
         3. Have you or anyone you have had close contact with been diagnosed with or
            quarantined for Coronavirus? (The incubation period is 2-14 days)
            YES__NO__
         4. Do you have a fever, cough, difficulty breathing, diarrhea, headache, loss of
            taste or smell or symptoms of lower or upper respiratory illness? YES__
            NO__
  My temperature was taken and recorded on the questionnaire.
  At the bottom of the questionnaire, the final statement was “If answered yes to any of the
  questions above, please see the immediate Supervisor of the area.”
  The Supervisor of the area cleared me for entry into the secure perimeter of the jail.
  While in the employee screening area, I paused and observed several employees enter the
  facility through that entrance and all were wearing face masks, filled out the
  questionnaire and had their temperatures taken. I was provided with the temperature logs
  from the employee screening area for the last 90 days.
  This is the process that was followed each day that I entered the facility at 0830hrs. On
  days two and three, I was not escorted by Lt. Styles, but I followed the same routine. Lt.
  Styles was already on the premises and came out from the secure perimeter to get me
  each morning and evening on days two and three.
  Each day of my inspection, I paused in the employee screening area to observe
  employees entering the jail. 99.9 percent of the employees who entered the area were
  properly wearing their masks, had their temperature taken and filled out the questionnaire.
  On day two of my Inspection, I observed two men in street clothes enter the screening
  area who were not wearing masks, did not practice social distancing, and were not issued
  masks prior to going in to the secure perimeter of the facility. The security officer in
  charge of the secondary screening area did not stop them from entering the facility with
  no masks.
  Once inside the secure perimeter of the building, I met with Chief Jailer Fields, and
  Assistant Chief of Security Hubbard to get a better sense of how their jail operated on a
  day to day basis, and to discuss some of the challenges they faced from their perspective
  in combating the spread of the Coronavirus in their facility. I found both Chief Fields and

                                               6
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 9 of 35                PageID 1081
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



  Assistant Chief Hubbard to be welcoming, transparent, cooperative, and openminded. I
  was presented with two binders of documents that I had previously requested responsive
  to items 1-15 in the Inspection Order signed by Judge Lipman. At the conclusion of this
  report I will list the documents that I reviewed as part of this Inspection.
  We were then joined by Dr. Judy C. Martin, PhD, NP-BC, Chief of Nursing for the
  Shelby County Health Department, and Jeremy R. Sanders, MPA, the Health Services
  Administrator for Wellpath for the Shelby County Jail. I spoke with them and let them
  know how I intended to conduct my inspection over the next several days.
  After I met with the Jail Command Staff, I ask to see the entire jail facility from an
  inmate’s arrival through the Sally Port through release. Over the course of the next
  several days, I would meet with and ask questions of a variety of key jail personnel,
  Shelby County Health leadership, and Wellpath leadership as well as inspect all parts of
  the jail in which vulnerable inmates and inmates with disabilities were housed, held or
  moved to and from (medical, mental health appointments, pill call, and court)
  Dr. Martin and Mr. Sanders wished to accompany me on the first day, and I welcomed
  them because I wanted them to see what I saw in real time, and it was more efficient to
  have healthcare leadership present to answer any healthcare related questions about
  which Lt. Styles might not be intimately familiar.




                                             7
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 10 of 35                     PageID 1082
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   INTAKE/BOOKING/RELEASE

   I began my inspection in the Intake/Booking area and the sally port where all law
   enforcement are required to bring arrestees for screening and booking.
   24 hours a day, 7 days a week, 365 days a year all arresting agencies who enter the sally
   port are required to keep the inmate in the agency vehicle until it is there turn to present
   the arrestee for a pre-booking Covid19 healthcare screening. They are asked a series of
   healthcare questions about any symptoms that they may be experiencing related to
   Covid19 and they are administered a temperature strip which is then passed back through
   a glass barrier to the nurse on the other side.
   If the inmate is asymptomatic, they are issued a mask and placed in a holding cell inside
   the secure perimeter and they go through the normal booking process. The inmate is
   searched, photographed, fingerprinted, and interviewed by pretrial services. Pretrial
   Services administers a new Public Safety Assessment tool along with the old assessment
   questionnaire to determine if the inmate is eligible for release on his or her own
   recognizance (ROR) or if he or she will have a bond set by the Commissioner. The bond
   is set within the first 24 hours.
   If they are not eligible for ROR, the inmate will be dressed out, processed through
   classification and housed in a general population isolation unit that is cohorted for 21
   days. (Lower Level A-G)
   If the inmate is symptomatic, the inmate is escorted immediately over to a tent area on
   the far end of the Sally Port, and healthcare staff and security staff come out in full
   hazmat PPE and conduct a more in depth healthcare screening to determine if the arrestee
   is suitable for confinement (Not in acute respiratory distress or suffering from some other
   medical condition that requires the inmate to be transferred to the ER at Region1
   Medical). If the inmate is suitable for confinement, the inmate is placed in full PPE
   including a hazmat jumpsuit, booties, facemask and eye protection and escorted to a
   medical quarantine area where he will remain for 21 days. Inmate is tested immediately
   with the nasal pharyngeal test for Covid19. The positive inmates’ temperatures are taken
   daily, for 21 days, but no other Covid19 tests are performed. Wellpath uses a non-test
   based strategy for asymptomatic and symptomatic inmates. Inmates must remain in
   medical isolation for 21 days prior to being released to general population.
   If an inmate is symptomatic, his clothing is placed in a hazmat bag and disposed of as
   hazardous material.
   During the course of my inspection and multiple observations of the booking area, I
   witnessed an inmate being booked into the jail who was not wearing a mask and the
   arresting officer had his mask down below his nose. The inmate was allowed to enter the
   interior of the booking area without a mask and was placed in a holding cell. The inmate
   was without a mask for a significant portion of the booking process. Lt. Styles was
   present when I made this observation.



                                                8
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 11 of 35                     PageID 1083
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



   Moreover, we observed at least one officer with his mask down around his chin when he
   entered the booking area, and, on another occasion, down below his nose.
   Episodic violations of the health screening process, and the mask policy for inmates and
   staff creates an undue risk of harm to the vulnerable inmates who are processed through
   the booking area.
   I also inquired about the cleaning process for the intake/booking area and it was learned
   that while the common areas and phone banks are cleaned every hour, the holding cells
   are only cleaned at the beginning of the shift and one or two additional times. This
   practice while important, is insufficient to protect subsequent vulnerable inmates from an
   unreasonable risk of exposure to the virus as a result of a potentially asymptomatic
   positive inmate contaminating the hard surfaces in the holding cells, the phones, the
   toilets in the holding cells (we know that there have been at least two studies that suggest
   that the virus can be shed through stool and urine but further studies are needed). I do
   want to note that this jail would be considered very clean in normal times. The floors are
   polished, the walls are clean, the empty cells are free of debris, human waste, and the
   toilets appear to be clean. It is obvious that the Command Staff go to great lengths to
   keep this older jail clean.




                                                9
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 12 of 35                      PageID 1084
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   MEDICAL

   The next area I inspected was the medical clinic area. There is no Outpatient Housing
   Unit or Infirmary in the jail. Anyone requiring those services must be transported to an
   outside facility. The Wellpath staff conduct regular sick call and during this time of crisis
   use Telemedicine for much of their Physician appointments. I observed the clinic area
   and spoke with several nurses. The area was clean and I observed inmates being seen in
   the clinic and via telemedicine including on HIV patient communicating with his
   physician via telemedicine. All participants were wearing appropriate PPE and were
   properly social distancing. I note that during the course of my three-day inspection, I did
   notice episodic violations of the mask policy by healthcare workers.
   I also observed pill call on the housing units and noticed that there we newly installed
   markers for social distancing along the corridor where pill call is conducted. The inmates
   on the occasion of my inspection were properly social distanced and were wearing masks.
   While I observed some episodic violations of the mask policy by inmates having their
   masks down below their nose, staff was quick to direct the inmate to put the mask over
   their nose. In each case, the inmate complied.
   When asked about outside specialty appointments for Chronic Diseases and Serious
   Medical Conditions, Wellpath’s Medical Director, Dr. Donna Randolph told me that
   Region1health were not accepting appointments from the jail for several months during
   the Covid19 pandemic, but they have recently started accepting appointments again. She
   stated that it is still a challenge to get inmates in need of specialty care regular
   appointments because Region1health only accepts appointments for inmates one day a
   week and that single day must accommodate inmates from the Shelby County Penal Farm
   and the Federal Detention Facility located in Shelby County. There is a dialysis clinic
   that occurs at the jail regularly and the dialysis patients have not experienced any delays
   in their care. I spent a considerable amount of time with Dr. Randolph and Mr. Sanders
   and I found them to be well informed and passionate about delivering competent medical
   care to the inmate population. The care that is delivered by Wellpath is hampered by
   reliance on resources they cannot control and as a result inadequate chronic care and
   specialty care may be occurring.




                                                10
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 13 of 35                    PageID 1085
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



   MENTAL HEALTH

   There is a housing unit for inmates who are suicidal and are on fifteen-minute checks.
   However, if any behavioral health inmate would be in need of more intensive care, they
   would have to be transported to an outside hospital. One practice that concerns me for
   this vulnerable population is that all inmates on 15-minute checks are issued suicide
   resistant smocks rather than following the best practice of evaluating the need for a
   smock on a case by case basis. The blanket policy of issuing smocks to everyone will
   discourage some inmates from revealing their suicidality because they don’t want
   everything taken from them and to be stuck in a smock. Inmates view this as punitive. I
   spoke with the Mental Health Director Ms. Geeter regarding this issue. The SMI
   population is part of the vulnerable population as disabled inmates. This population more
   often than not has co-morbid medical conditions that require monitoring and treatment.
   Dr. Randolph and Ms. Geeter assured me that the SMI population are getting their labs
   done in a timely fashion (as I understand it some of the psychotropic medications can
   cause liver and kidney problems as well as significant weight gain) Wellpath has
   contracted with Lindsay Hayes, a nationally recognized expert on Suicide Prevention,
   and Mr. Hayes was scheduled to return to the jail for a follow up visit, but because of the
   Covid19 he has been unable to return to the jail.
   I was pleased to observe several suicide resistant cells in this unit. These cells have
   eliminated the tie off points that are commonly used by inmates who are attempting to
   commit suicide. 90% of the suicides that take place in a jail setting are by hanging. The
   Mental Health Director, Ms. Geeter, personally trains security staff and non-security staff
   on suicide prevention practices. Ms. Geeter also uses Lindsay Hayes’s suicide prevention
   manual and curriculum. The initial training is between six to eight hours (depending on
   the number of questions asked during the session) and the refresher training is two hours.
   Wellpath does not have a formal structure to their mental health delivery system, but
   Wellpath does employ one full time Psychiatrist, one half time Psychiatrist, several
   LMSWs, LPCs, LSWs, and one Psychiatric NP.
   There are about 200 behavioral health inmates on the second floor, and there are
   approximately 150 more higher functioning behavioral health inmates scattered
   throughout the jail. Many of those inmates are on medication management only, but Ms.
   Geeter’s team does not have a formal treatment program structure, but does deliver basic
   mental health services, special needs services, individual therapy, and crisis management
   and assessment.
   One concern that I have is that Wellpath does not employ a Clinical Psychologist to
   formally test for Developmental Disabilities(DD) and Learning Disabilities(LD). The DD
   population who are in need of higher adaptive support are subject to victimization (sexual
   assault, other inmates stealing their commissary, carry drugs and weapons for gangs) and
   have short term memory problems, difficulty understanding directions, forgetting to
   shower, wash their hands, clean their cells, eat, etc. Ms. Geeter told me that anyone who
   is suspected of being DD is seen by a psychiatrist. The DD population can be as large as



                                               11
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 14 of 35                      PageID 1086
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   two to four percent of the inmate population (38-76 inmates) with a much smaller number
   being profoundly DD requiring high adaptive supports and protection from victimization.
   There is no formal testing that occurs for the LD population. Learning Disabled inmates
   do not want people to know that they cannot read, write, or have trouble understanding
   words, sentences and documents with which all of us may not struggle. It is important
   that effective communication is used with this population and that means using simpler
   words, talking slower, explaining the Covid19 education materials to them, etc. Equally
   important for them to have equal access to the programs, services, and activities in the
   jail, Wellpath must screen for and identify this population to make sure that security staff
   and program staff are effectively communicating with them, that they understand the
   Covid19 education materials and that they rules and regulations of the jail. The LD
   population while not medically vulnerable, they are disabled as defined by the ADA, and
   are entitled to accommodations for their disabilities.
   I spoke with Ms. Jackson who oversees the crisis unit where suicidal patients are housed.
   She is very passionate about her job and has a very good relationship with the inmates in
   her unit. The time constraints around this inspection prevented me from spending more
   time with her and learning more about her unit.
   Ms. Geeter and Ms. Jackson clearly care about this very vulnerable population and do
   their best to ensure the inmates in the Behavioral Health Delivery System are properly
   treated.
   My next area of inspection was the housing units themselves. Lt. Styles, Dr. Martin, Mr.
   Sanders and went to all the living units together on the first day, and then Lt. Styles and I
   went back to the living units to interview inmates from the list of vulnerable inmates and
   inmates with disabilities the following two days. The vulnerable inmates/ADA inmates
   who are the subject of this Court ordered inspection are scattered throughout the jail in all
   security levels on all floors.




                                                12
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 15 of 35                      PageID 1087
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   MEDICAL ISOLATION LOWER LEVEL PODS A-K

   In their Covid-19 response policies, procedures and practices, Wellpath and the jail
   represent that asymptomatic newly incarcerated inmates are medically isolated for 21
   days and then released to general population living units commensurate with their
   security level.
   However, I was told by several inmates that I interviewed that these newly incarcerated
   inmates do not remain in medical isolation from the rest of the population for 21 days as
   the Covid-19 response policy and booking flow chart represents.
   Allegedly, throughout the 21 days the inmates are intended to be isolated from the rest of
   the jail population in order to prevent the introduction of the Covid-19 virus into the jail,
   they are required to be moved from their isolation units through the court tunnel and into
   holding cells for the General Sessions Courts and the Criminal Courts of Shelby County.
   The medically isolated inmates are mixed in the Division specific holding cells with 20-
   25 other general population inmates from throughout the jail for up to 4 hours. This
   occurs in the morning and afternoon multiple times a week. Most of the time, according
   to the inmates I interviewed, the inmates do not leave the holding cell or they are directed
   to walk up the stairs to the court hallway where they are handed a piece of paper and told
   their case has been reset for another date. The inmates then walk back down the stairs
   back through the court tunnel returning to their living units in the jail and the medical
   isolation units on the lower level.
   In order to determine that this was actually occurring, during court hours, I went to the
   control booth in the lower level that keeps the court tunnel, the lower level holding cells,
   and the stairs to the courtrooms under constant camera surveillance. While in that control
   booth with Lt. Styles and the control booth security officer, I could see the constant
   inmate movement through the court tunnel to and from the holding cells. In the holding
   cells there were approximately 20-25 inmates in one, 16 in another, and 6 in another. I
   observed some inmates were not wearing their masks. I observed inmates walking up and
   down the stairs to the courtrooms. I saw that there was no social distancing in two of the
   three holding cells. I observed some security staff were not properly wearing their masks
   in the tunnel.
   Once I verified this practice, I circled back and spoke with Chief Fields, Assistant Chief
   Hubbard, Dr. Donna Randolph, and Mr. Jeremy Sanders. All verified that this was taking
   place shared my concern about the practice, but felt they had no control over how the
   court handles their calendar and appearances.
   This practice unquestionably puts vulnerable inmates and the ADA inmates at an
   unreasonable risk of harm from potential expose to asymptomatic Covid-19 positive
   inmates. Without an immediate change to this practice, it clearly renders any attempts to
   medically isolate asymptomatic newly incarcerated inmates from the rest of the jail
   population ineffective and of little value. The risk of infecting other inmates and
   introducing the Covid-19 virus into the general population of the jail is high.


                                                13
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 16 of 35               PageID 1088
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



   It should be noted that on the lower level there are two holding cells that have video
   hearing capability for the courts. Those holding areas are LLR and LLS.




                                            14
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 17 of 35                        PageID 1089
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   FLOORS 1-6

   While the pleadings and declarations I read in preparation for my inspection imply that
   nothing special is done for the vulnerable inmate population. During my inspection, I
   became aware that medical does have several small living units on the 2nd floor where
   they house medically fragile inmates (2B-2E, 2J, 2K, 2L). These inmates are medically
   fragile/ vulnerable inmates who need more intensive observation and treatment. The
   medical offices are on this floor. The ingress and egress to this unit is controlled, and
   medical has to approve anyone who is to be housed in this area. This area has a limited
   number of beds and currently is at capacity. During the course of my inmate interviews
   on this floor, several inmates complained that social distancing is not possible and that
   the living area, showers, and bathroom was dirty. After my interview with the inmates
   which occurred outside the living area for privacy reasons, I went into the living unit with
   Lt. Styles and we inspected the area for cleanliness. Lt. Styles and I both observed the
   living area and the bathroom to be in need of cleaning. Lt. Styles immediately directed
   staff to clean that living unit and bathroom. It is the policy of the jail that all inmates must
   wear masks and for the most part they were wearing masks, but some did not have masks
   on or they had the mask down below their nose. Individuals with COPD who have
   difficulty breathing are going to resist wearing these masks all the time because they
   restrict their breathing even further.
   The third-floor houses Level 7 inmates and some Level 5 and 6 inmates. Given the
   current population levels in these units, it is not currently possible to property social
   distance under the current program structure. Most of the Pods have 35-38 inmates in a
   Pod with a capacity of 43.
   The jail’s current policy directive is that all inmates are to receive free soap and that soap
   is not to be confiscated if the inmates have more than one bar. The vulnerable inmates
   that I interviewed complained that if they have money on their books, the housing
   officers will not allow them to have free soap. The inmates complained that it is not
   possible to social distance because the dayroom is crowded with 20 or so inmates at a
   time. In one of my multiple interviews with Chief Fields across several days, I asked him
   about this and he told me that they inmates can have free soap by policy. I also noted that
   in these living units, there were hand sanitizer dispensers installed on the walls, but the
   inmates told me they could not access the hand sanitizer because it is behind the officer’s
   desk which is out of bounds for inmates. The inmates did verify that recently there has
   been an increased effort to clean the living units more frequently. During my three days
   of inspection, I did observe a cleaning crew under the direction of Mr. Dwayne Johnson
   with biovex sprayers on their backs cleaning common areas throughout the jail. The
   inmates stated they were given cleaning supplies but the mops they were given to clean
   their cells were mops that everybody else had just used to clean their cells and they were
   concerned about cross contamination.


   The fourth-floor houses Level 8 and 9 inmates, high profile inmates, overflow suicide
   watch, and two program pods. These living units are at or near capacity making social

                                                 15
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 18 of 35                        PageID 1090
                           SHELBY COUNTY MENS JAIL
                           COVID19 INSPECTION
                           JUNE 29, 2020



   distancing impossible under the current dayroom use policy. At least twenty inmates are
   out in the dayroom area together during dayroom time, and the tables only seat 4 inmates.
   Throughout my inspection tour I observed inmates out in the dayroom and although 99
   percent were wearing masks, there just is insufficient room to properly social distance.
   The vulnerable inmates that I interviewed had similar complaints regarding free soap, and
   social distancing. The inmates did acknowledge the stepped-up cleaning of the common
   areas in the last several weeks. The hand sanitizer dispensers were located behind the
   security officer’s desk and in an area that is out of bounds for inmates.
   The fifth floor is a dormitory floor consisting of three units of 32 bunks totaling 64 beds
   each. 5A houses inmates with security levels of 1-5. 5B is a program dorm of 32 bunks
   totaling 64 beds. 5C houses security levels 5-6 and has 32 bunks totaling 64 beds. Each of
   these dormitories were not at capacity. It appeared they were at about 50 – 60 percent of
   capacity. There was some social distancing in these units but there were two to a bunk,
   and the occupied bunks did not always have a vacant bunk in between them. The
   vulnerable inmates I interviewed in these units had similar complaints regarding the
   availability of free soap, social distancing, and cleaning supplies. The living units
   appeared to be clean. The inmates acknowledge a recent increase in the frequency of the
   cleaning of the common areas. The inmates told me that the jail had just put in the social
   distancing markers in the pill call line and on the floors of the living units just last week. I
   observed the inmates wearing their masks but not universally. The some of the inmates
   on all floors complained about their masks falling apart. They acknowledged that the jail
   cleaning crews offered to disinfect their masks with the disinfectant, but they did not
   want them to do it because of the chemical smell and it takes a while for the mask to dry.
   The sixth floor is a dormitory floor that consists of 3 living units of 32 bunks and 64 beds.
   It is currently empty. This area can house inmates who have security levels from 1-7.




                                                 16
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 19 of 35                      PageID 1091
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   POPULATION MANAGEMENT

   As of June 29, 2020, the inmate population of the Shelby County Jail is 1854 inmates.
   The jail has a capacity of 2600. The jail currently books 38 inmates a day on average and
   releases 24 inmates a day on average. The jail is an older jail that was built in the 1980’s
   and as a result, most of the cell doors are open bars are the top and are operated
   electronically via a control panel and Folger keys. Approximately 8 different law
   enforcement departments within Shelby County book arrestees in the jail. Additionally,
   surrounding counties will request that the jail take some of their inmates when they reach
   capacity. The jail also currently houses Tennessee Department of Correction inmates who
   come back to Shelby County for court matters.
   Reducing the population of the jail in these unprecedented times is a challenge. The jail
   as a matter of law cannot refuse to book an arrestee who is medically fit for incarceration
   nor does the Sheriff have the authority to release inmates to alternative forms of custody
   such as active GPS, supportive housing in the community, shelters, recovery homes,
   home detention, work release, etc. The authority to do that rests solely with the Shelby
   County Court. Currently the jail has a case expeditor to try and move cases along, but
   from my observations during my inspection the current practice of the Shelby County
   Courts and the attorneys representing the inmates is creating a significant backlog that is
   contributing to the size of the jail population. Cases are being postponed multiple times
   for lengthy periods of times allegedly without the consent or time waiver of the inmates.
   The inmates are not being provided their discovery packets until months after their arrest
   and detention. Attorneys are not visiting their clients and discussing their cases. Offers
   are not being made in an effort to resolve cases. The vulnerable inmates that I
   interviewed during my inspection complained about the lack of information. The failure
   of their defense attorneys to visit them. The failure of their attorneys to consult with them
   regarding waiving their constitutional right to a speedy trial. The court allegedly is
   refusing to release inmates who are committed non-violent crimes and are not a current
   threat to public safety. Defense attorneys are allegedly failing to present medical
   evidence of their client’s serious medical condition to the court that would demonstrate
   the inmate is not currently a threat to public safety or to argue for placement in alternative
   forms of custody. They cannot present the evidence because they allegedly are not
   meeting with their clients and gathering the necessary evidence to present to the court.
   In addition, the Tennessee Department of Correction is not accepting inmates who have
   been convicted and sentenced to prison. The jail houses state prison inmates who are
   back from prison to resolve some outstanding court matters.
   Moreover, towns in Shelby county bring inmates to the jail when their jail reach capacity,
   and surrounding counties also bring inmates to the jail when their jails are allegedly at
   capacity.
   As a result, the population continues to remain in the mid eighteen-hundreds with little
   room to enforce social distancing within the living units in the jail.



                                                17
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 20 of 35                     PageID 1092
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   STAFFING SHORTAGES

   Currently the jail has 157 security staff vacancies and the Sheriff’s Department is
   experiencing difficulty in their recruitment efforts to fill those vacancies. In addition, a
   recent staffing study that was completed found that the actual need for security staff is
   over 300 positions. Having significant staffing shortages like these is a contributing
   factor to consistently providing routine service to the vulnerable inmates in the jail.




                                               18
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 21 of 35                  PageID 1093
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



   FINDINGS AND RECOMMENDATIONS


   These findings and recommendations are not in order of importance.


   FINDING #1

   The Wellpath Covid-19 response plan is inadequate to protect the vulnerable inmates
   housed in the Shelby County Jail for the following reasons:

      1. The newly booked inmate movement from medical isolation to the General
         Session and Criminal Courts and then back to the medical isolation unit
         completely undermines the integrity and purpose of the 21-day medical isolation
         that is designed to prevent the introduction of the Covid-19 virus into the jail
         population. The medically isolated Inmates are held in holding tanks in large
         groups with general population inmates for long periods of time (2-4 hours)
         multiple times in the 21-day isolation period. The medically isolated inmates are
         not tested at any time during their 21 day stay if they remain asymptomatic, nor
         are the inmates from general population who were already housed in the jail, but
         who have been exposed to a potentially positive asymptomatic inmate from
         medical isolation in the court holding tanks. This presents an unreasonable risk of
         harm to the medically vulnerable inmates who are held in the holding tanks with
         the asymptomatic medically isolated inmates.

      2. Through no fault of Wellpath, their timed out non-testing strategy designed to
         prevent the spread of the Covid-19 virus in the jail, is rendered ineffective and
         useless as a result of the Court’s insistence on the presence of the medically
         isolated inmates in court or near court during the newly booked inmate’s 21 day
         medical isolation.

      3. The jail does not cluster the vulnerable inmates in housing units together away
         from the general population. Wellpath does attempt to cluster the most medically
         fragile and vulnerable inmates in the medical area on the second floor, but the
         space is limited and the number of vulnerable inmates who are considered to be in
         a high-risk group is around 300 inmates.

   RECOMMENDATION #1

      1. It is recommended that Wellpath move to 14-day medical isolation with a nasal
         pharyngeal test-based strategy for symptomatic and asymptomatic inmates who
         are newly booked in the jail. The tests should occur between day 3 and day 6 for
         the initial test, and between day 10 and day 12 for the second test. All inmates in
         medical isolation must be asymptomatic for two consecutive days subsequent to



                                             19
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 22 of 35                     PageID 1094
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



         the final test results being received before they can be released to general
         population.

      2. It is recommended that Wellpath and the jail command staff identify living units
         where the vulnerable population can be sequestered away from the rest of the
         general population inmates without losing their privileges or dayroom time
         consistent with their security level. The most medically fragile inmates and the
         inmates that are at the highest risk of serious illness or death if they contract the
         Covid-19 virus should be housed near the medical unit in case there is a white
         alarm. Areas that could be considered are the third floor and the Annex. Custody
         might be able to open the sixth floor living units which have 192 beds for the
         Level 7 inmates currently housed on the 3rd floor, and move some 3rd floor
         inmates from the third floor to the empty cells in the Annex.

   FINDING #2

      1. Wellpath and the jail command staff have no authority to compel the court to
         discontinue the practice of insisting on inmate’s personal appearances in, at, or
         around the General Sessions Court or Criminal Court for initial appearances or to
         have their matters set over to another date. This practice increases the risk of
         inmate exposure and court personnel to Covid-19 infection because of the
         clustering of inmates in large holding cells and personal court appearances.

   RECOMMENDATION #2

      1. Consult with Dr. Bruce Randolph, Shelby County Health Officer, to see if he
         would be amenable to adding detention facilities to Shelby County Health
         Directive #7 or issuing a separate health directive for detention facilities in Shelby
         County. The language in the directive could read that “Any person detained in a
         detention facility should be isolated from the rest of the inmate population for 14
         days if they are not eligible for ROR and cannot make bond. If the detained
         person is eligible for ROR or can make bond, they should be provided with a copy
         of Shelby County Health Directive #7 dated June 22, 2020 and instructed to
         follow that directive upon release. Nothing in this directive is intended to delay or
         impede the release of detained individuals if they are eligible to be released”. This
         is in the best interest of public health, and detained people are members of the
         Shelby County community and should be protected from unreasonable risks of
         infection just like non-detained persons in Shelby County.

      2. Consult with the General Sessions Court and Criminal Court and ask the Judges
         to use the existing video technology located in holding tanks LLR and LLS for
         arraignments, bond hearings, and other court proceedings that would not violate
         the inmate’s 5th or 6th amendment rights. In March, the Tennessee State Supreme
         Court issued an emergency order suspending in person court appearances for two
         weeks, but I am unaware of the validity of this order today. Technology such a

                                               20
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 23 of 35                     PageID 1095
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



         Skype, Zoom, Microsoft Team, Webex are also available and could be deployed
         in a cost effective and efficient manner while limiting the exposure of vulnerable
         inmates to infection. Ms. Best, the Sheriff’s Office Expeditor, is a former Judge
         and an attorney and could be very helpful in explaining the risk of spreading the
         Covd-19 virus among the inmate population if court continues to demand the
         inmates appear in, at or near the Courts in large holding tanks. The use of video
         arraignments, bond hearings, and other appearances would go a long way in
         reducing the risk of vulnerable inmates getting infected with the Covid-19 virus.

      3. Wellpath leadership needs to be more aggressive and more vocal about protecting
         the vulnerable inmates in their care. There are several practices that take place in
         the jail that are potentially harmful to their patients, and they should not be
         allowed to continue. I recognize that Wellpath leadership feels powerless to insist
         that those harmful practices be discontinued, but in my expert opinion, Wellpath
         should have brought those harmful practices, at a minimum, to the attention of Dr.
         Bruce Randolph and documented that those harmful practices were brought to the
         attention of whatever entity they notified including the Court. Judges can be
         dismissive, but it is the responsibility of the medical provider to protect the health
         of the inmates in their charge and to speak up and advocate for the safety of their
         patients. I know this is an uncomfortable recommendation, but it is the right thing
         to do. Doing the right thing is not always easy, but it is always the right thing to
         do.

   FINDING #3

      1. The Shelby County Jail is not maximizing its efforts to enforce social distancing
         in its living units and should consider rethinking how it programs inmates in all
         areas of the jail.

   RECOMMENDATION #3

      1. Jail Command Staff could consider allowing fewer inmates in the dayroom area at
         the same time. By reducing the number of inmates in the dayroom at one time
         while continuing to enforce the mandatory mask order for staff and inmates who
         are in the dayroom, the risk of infecting others with the Covid-19 virus will be
         reduced. As an example, only allowing 6-8 inmates out in the dayroom at the
         same time on the 3rd, 4th, 5th, and 6th floors vs allowing 20 inmates out in the
         dayroom at the same time will substantially reduce the risk of person to person
         infection. In the dormitory living units, staff can put some inmates on bunk status
         until it is time for them to program in the dayroom. It is critical that the security
         officers enforce the directive that inmates properly wear masks. I did not
         physically go into the asymptomatic medical isolation units, but those inmates
         should only be coming out alone with masks properly worn until their medical
         isolation is lifted.



                                               21
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 24 of 35                     PageID 1096
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020




   FINDING #4

      1. During my jail inspection, it was apparent to me that living unit security officers
         are not following the directive that ALL inmates should be receiving free bars of
         soap not just the indigent inmates.

   RECOMMENDATION #4

      1. At the daily shift supervisors meeting, jail command staff should issue a directive
         to the floor Sergeants, Lieutenants, and Captains requiring them to direct living
         unit security staff to distribute free soap to the inmates in every unit twice a week
         until further notice. Furthermore, living unit security staff should provide each
         new inmate who enters the living unit with an information sheet that provides the
         inmate with Covid-19 education materials and a statement that they are entitled to
         free soap twice a week and that they will not be written up if they have more than
         one bar of soap in their possession. If security staff do not follow this directive,
         they should be disciplined.

   FINDING #5

      1. During my jail inspection, I found that the mops used for cleaning were not
         disinfected frequently enough and the mop heads changed frequently enough.
         Clean towels for cell cleaning were not available to inmates. In some living units,
         it was obvious that none of the housing officers on any of the three watches were
         ensuring the living units, dayroom areas, and the bathrooms were being mopped
         and scrubbed. Spraying Biovex on the toilets and in the bathrooms is inadequate.
         The floors need to be mopped regularly and the toilets and showers scrubbed
         regularly. This was not the case in every unit, but it was certainly the case in some.

   RECOMMENDATION #5

      1. Twice a week, every living unit in the jail should have a deep cleaning overseen
         by the security officer and the living units should be inspected by the floor
         sergeant. Inmates should have the opportunity to clean their cells every day at a
         specified time that does not take away from their dayroom time. If the living unit
         is not spic and span, the inmate’s dayroom time should be suspended until such
         time as the living unit is spic and span. In addition, the living unit security officer
         should be disciplined for not keeping their living unit clean. Taking pride in your
         work area is a fundamental principal and best practice for a paramilitary
         organization.




                                               22
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 25 of 35                   PageID 1097
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



   FINDING #6

      1. During my inspection, I did see episodic violations of the mandatory mask policy
         for staff and inmates. I also witnessed Sergeants and Lieutenants not strictly
         enforcing the mandatory mask directive. I also witnessed security staff that had to
         be told repeatedly to pull their mask up over their nose. Staff should not have to
         be told two or three times to properly. In the intake/booking area, I witnessed an
         inmate enter the interior booking area without a mask. He was allowed to walk
         around the booking area without a mask for some time. A Memphis Police Officer
         also was not wearing his mask correctly.

      2. In my expert opinion, some floor Sergeants, and Lieutenants are over familiar
         with their subordinates. By that I mean, they act like friends rather than the
         supervisor of the rank and file security staff. As a result, the rules are not
         rigorously enforced, rank and file security staff are not held accountable and
         disciplined for not following the Covid-19 directives. In one instance, 3 rank and
         file security staff were in a Sergeant’s office with the Sergeant and they did not
         have their masks on and they were not properly social distancing. This should
         never happen.

   RECOMMENDATION #6

      1. Floor Sergeants, Lieutenants, and Captains need to be hypervigilant in enforcing
         the mandatory mask directive for staff and inmates. In fact, they need to be
         hypervigilant in enforcing all of the Covid-19 policies, procedures, and practices.

      2. It is critical that supervisors maintain their professional distance from
         subordinates. Overfamiliarity breeds contempt and as a result supervisors become
         unwilling to enforce policy and discipline non-compliant subordinates. This will
         poison the well and all the great work that management has done to fight the
         spread of this virus will go for naught, and many of the vulnerable inmates will
         unnecessarily become seriously ill and die.

      3. I recommend that Chief Fields and Assistant Chief Hubbard increase their
         presence on the decks and spot check compliance with the Covid-19 policies,
         procedures, and practice including the cleanliness of the living units, dayrooms,
         and bathrooms.

      4. I recommend that the jail consider creating a compliance unit whose sole
         responsibility is to audit compliance with department policies, procedures, and
         practices. This unit can develop an internal audit tool and audit the jail quarterly
         for compliance. A quarterly report then should be filed with command staff and a
         corrective action plan should be developed to correct any identified deficiencies.
         This is important to protect the vulnerable inmates from an unreasonable risk of
         harm due to policy violations.

                                              23
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 26 of 35                     PageID 1098
                         SHELBY COUNTY MENS JAIL
                         COVID19 INSPECTION
                         JUNE 29, 2020



   FINDING #7

      1. The Covid-19 educational materials are not at a 6th grade reading level. The
         materials are posted on the wall, and there is a Covid-19 education cartoon that is
         played at 0800 and 1500 hours every day on the living unit TVs. Many inmates in
         the jail are learning disabled, developmentally disabled, and seriously mentally ill
         and do not understand the word or concepts on the Covid-19 material.

   RECOMMENDATION #7

      1. Create a Covid-19 information sheet that is at a 6th grade reading level. This
         information sheet should be provided to every inmate who is booked in the county
         jail and again when they reach their assigned housing unit after being taken off
         medical isolation. It should also be posted on the wall of every living unit, and the
         living unit security officer should make sure the inmate understands the
         information on the sheet when they orient the inmate to the living unit rules and
         regulations. This information sheet should be available in audio and large print for
         the visually impaired and blind.

   FINDING #8

         1. Cleaning supplies for high touch surfaces such as telephones and kiosks are
            not readily available for inmates to use after each inmate uses those high
            touch items.

   RECOMMENDATION #8

      1. Place an EPA approved cleaning solution in a spray bottle with a supply of paper
         towels in an area in the living unit where inmates can readily access it for
         cleaning the phone, kiosk and other surfaces after every use. The jail is a Direct
         Supervision Jail, and security staff are in the living units and can supervise its use
         or assign a pod worker to that responsibility. Many inmates are indigent and
         assigning inmates with a pay number at .20-.50 cents an hour will allow the
         inmate pod worker job to be attractive. First Watch and Second watch can each
         have their own pod workers to assist the housing unit security officer with the
         management of the cleaning supplies.

   FINDING #9

      1. Some inmate masks I observed were in disrepair and were dirty. Inmates only are
         issued a single mask.




                                               24
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 27 of 35                   PageID 1099
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



   RECOMMENDATION #9

      1. Issue the inmate population two cloth masks one of which can be exchanged with
         the weekly laundry exchange. During laundry, the masks should be inspected and
         replaced if they are in disrepair. Masks should not be sprayed with Biovex. The
         manufactures warnings state that Biovex is considered to be a mild irritant and
         can cause irritation of the eyes, ears and throat. Vulnerable inmates may have an
         adverse reaction to this substance being sprayed on their masks especially those
         with COPD or moderate to severe asthma.

   FINDING #10

      1. Wellpath does not test for Intellectual Disabilities or Learning Disabilities.
         Currently a Psychiatrist interviews inmates who are suspected to be intellectually
         disabled, but there is no testing for learning disabilities. Identifying the
         intellectually disabled and the learning disabled is important for informed consent
         as well as effective communication and victimization concerns.

   RECOMMENDATION #10

      1. Wellpath may want to consider hiring a Clinical Psychologist to test for
         intellectual disabilities and learning disabilities. Some experts have found that
         there may be as many as 2-4% of the inmate population that are intellectually
         disabled with a much smaller percentage being profoundly intellectually disabled
         needing high adaptive supports and protection from victimization.

   FINDING #11

      1. During my inspection and interviews, I came to the conclusion that there is no
         concentrated and coordinated effort to assemble and present information to the
         courts regarding an inmate’s medical conditions that may make him vulnerable to
         serious illness or death while housed in the jail. Moreover, while I find Mischelle
         Best, the Court Expeditor, to be hard working and passionate about her job, I am
         concerned she is spread too thin and has to do the job of a competent criminal
         defense attorney in addition to her other duties. Nor is there any consistent multi-
         disciplinary effort within the jail to secure alternative custody venues for
         vulnerable inmates. I found that a significant number of these inmates had very
         serious charges, but some have been charged with garden variety felonies and, in
         my expert opinion, because of their medical condition are not a current threat to
         public safety if they were placed in a structured and supervised environment.

   RECOMMENDATION # 11

      1. Create a multi-disciplinary task force within the jail to present the medical
         conditions of the inmates who along with their non-violent offenses make then

                                              25
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 28 of 35                PageID 1100
                      SHELBY COUNTY MENS JAIL
                      COVID19 INSPECTION
                      JUNE 29, 2020



        good candidates for release to alternative custodial settings. Technology has come
        a long way and alternatives custodial environments work well in many other
        states and jurisdictions.




   .




                                            26
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 29 of 35                      PageID 1101
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   CONCLUSION


   During the course of my jail inspection, I came to believe that the Shelby County Jail
   leadership team are consummate professionals who do embrace and promote the “care”
   component of the inmates in their custody, care, and control. They repeatedly told me
   that they were open to making any changes that would improve their operation and
   increase the health and safety of all the inmate population but especially the vulnerable
   inmate population. Their ability to decrease the size of the inmate population in the jail is
   limited by their authority to limit the intake of new inmates and by their complete lack of
   authority to place any inmates in alternative custodial environments. The fact that the
   Shelby County Jail is accredited by the ACA and the National Commission on
   Correctional Health Care is evidence of their desire to have a well-run jail that delivers
   patient centered healthcare. What I found during my inspection were opportunities for
   improvement in some critical areas that are plagued by episodic violations of well-
   intentioned and well thought out policies procedure and practices designed to maximize
   the protection of the vulnerable inmate population.

   The Shelby County Jail medical provider, Wellpath, is also dedicated to delivering
   patient centered, competent medical care to all the inmates but especially to the medically
   fragile inmates who are the most vulnerable to serious illness or death from the Covid-19
   virus. The effort of Wellpath to deliver consistent care to the inmates with chronic
   illnesses and serious medical conditions is hampered by the unwillingness of outside
   hospitals and specialty clinics to treat inmates. I find that deeply offensive and dangerous,
   but I am hopeful that Dr. Bruce Randolph can assist Wellpath and the Shelby County Jail
   in expanding the medical resources available to them in the community to treat those
   inmates who are in desperate need of treatment of their chronic diseases and serious
   medical conditions. The inmates in the Shelby County Jail are members of the Shelby
   County Community and most of them will return to the community in less than 18
   months. Ironically those same inmates who are currently being refused treatment by
   community providers and hospitals will seek treatment at those very same hospitals
   without shackles and will not be refused treatment.

   Given the reality of what is occurring with the Shelby County Courts and the inability of
   the jail to reduce its population, the jail and its medical provider must adjust their Covid-
   19 response strategy for the protection of all inmates but especially the vulnerable
   inmates.

   The jail is a high-risk environment for these vulnerable inmates, and I am hopeful that my
   recommendations will be adopted in order to reduce their risk of infection and serious
   illness or death.

   No jail will ever be perfect in performing its duties, but the Shelby County jail must
   embrace the necessary changes to its Covid-19 response strategy or risk losing control of



                                                27
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 30 of 35                     PageID 1102
                          SHELBY COUNTY MENS JAIL
                          COVID19 INSPECTION
                          JUNE 29, 2020



   its jail to a plethora of class action lawsuits, restraining orders, and/or population caps.
   The choice is theirs to make.

   Thank you for the opportunity to work on this very important project.




                                               28
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 31 of 35   PageID 1103
                        SHELBY COUNTY MENS JAIL
                        COVID19 INSPECTION
                        JUNE 29, 2020



   Signature
   Respectfully submitted,



                                                  June 29, 2020
   Mike Brady                                     Date
   Director
   Sabot Consulting




                                            29
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 32 of 35   PageID 1104
                    SHELBY COUNTY MENS JAIL
                    COVID19 INSPECTION
                    JUNE 29, 2020



   EXHIBIT 1 – INSPECTION ORDER




                                        30
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 33 of 35   PageID 1105
                    SHELBY COUNTY MENS JAIL
                    COVID19 INSPECTION
                    JUNE 29, 2020




                                        31
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 34 of 35   PageID 1106
                    SHELBY COUNTY MENS JAIL
                    COVID19 INSPECTION
                    JUNE 29, 2020




                                        32
Case 2:20-cv-02359-SHL Document 76 Filed 06/30/20 Page 35 of 35   PageID 1107
                    SHELBY COUNTY MENS JAIL
                    COVID19 INSPECTION
                    JUNE 29, 2020




                                        33
